Case 1:24-cv-01778-PTG-WBP Document 2-8 Filed 10/08/24 Page 1 of 2 PageID# 101




                              EXHIBIT 9
       Oct. 7, 2024 Email from ELECT re: Notice of Violation of
      National Voter Registration Act and Demand for Remediation
                            and Documents
      Case 1:24-cv-01778-PTG-WBP Document 2-8 Filed 10/08/24 Page 2 of 2 PageID# 102


Brent Ferguson

From:                                 FOIA (ELECT) <FOIA@elections.virginia.gov>
Sent:                                 Monday, October 7, 2024 9:46 AM
To:                                   Brent Ferguson
Cc:                                   Danielle Lang; ben.berwick@protectdemocracy.org; Orion Danjuma; Ryan Snow
Subject:                              Fw: Notice of Violation of National Voter Registration Act and Demand for Remediation
                                      and Documents
Attachments:                          NVRA VA Notice Letter.10.3.24With Exhibits.pdf



Brent Ferguson,

Thank you for your letter dated October 3, 2024.
The Virginia Department of Elections’ (ELECT) established voter list maintenance processes comply with
all applicable state and federal laws, including those referenced in your letter. As stated in ELECT’s response
to the Virginia Coalition for Immigrant Rights (VACIR) request submitted on August 20, 2024, ELECT will
provide the list of individuals cancelled due to being declared a non-citizen within 90 days from the date of
VACIR’s request in alignment with the National Voter Registration Act (NVRA) and ELECT's standard process
for fulfilling requests.
In addition, ELECT will review your new requests for documents and provide an estimate soon.
Thank you,

From: Brent Ferguson <bferguson@campaignlegalcenter.org>
Sent: Thursday, October 3, 2024 5:24 PM
To: Beals, Susan (ELECT) <susan.beals@elections.virginia.gov>
Cc: SBE - INFO, rr (ELECT) <info@elections.virginia.gov>; mailoag@oag.state.va.us; Danielle Lang
<dlang@campaignlegalcenter.org>; ben.berwick@protectdemocracy.org; Orion Danjuma
<orion.danjuma@protectdemocracy.org>; Ryan Snow <rsnow@lawyerscommittee.org>
Subject: Notice of Violation of National Voter Registration Act and Demand for Remediation and Documents


    Caution: This Email Originated Outside ELECT. Exercise Caution When Opening Attachments or
    Clicking Links, Especially From Unknown Senders.

Commissioner Beals,
Attached is a Notice of Violation of National Voter Registration Act and Demand for Remediation and Documents.
Thank you,

Brent Ferguson
Senior Legal Counsel, Voting Rights

Campaign Legal Center
1101 14th St. NW, Suite 400
Washington, DC 20005
campaignlegalcenter.org




                                                               1
